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                                                                                                 United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                        January 19, 2025
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                   §
    In re:                                                         §        Chapter 11
                                                                   §
    Chesapeake Exploration, L.L.C.,1                               §        Case No. 20-33239 (CML)
                                                                   §
                                      Reorganized Debtor.          §        (Formerly Jointly Administered under
                                                                   §        Lead Case Chesapeake Energy
                                                                            Corporation, 20-33233)

                    STIPULATION AND AGREED ORDER
      REGARDING CERTAIN PROOFS OF CLAIM AND ADMINISTRATIVE CLAIMS

             The above-captioned reorganized debtor (together with each of the reorganized debtors in

the jointly-administered cases styled Chesapeake Energy Corporation, Case No. 20-33233, before

the Effective Date2 of the Plan, the “Debtors,” and after the Effective Date of the Plan,

the “Reorganized Debtors”) and Boyanowski Family LP; Lyman Walters Family LP; RDNJ

Trowbridge Family LP; Gary B. & Judy L. Baldwin; Robert W. & Wendy Dunlap; Pickering

Sisters LP; William II & Clara Burke, William III & Becky Burke; Edward & Rebekah Burke;

Russel Prevost; and Dwayne Lockburner (the “Settlement Claimants” and together with the

Debtors or Reorganized Debtors, as applicable, the “Parties”) hereby enter into this stipulation and

agreed order (this “Stipulation and Agreed Order”) as follows:




1     A complete list of each of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of
      the Reorganized Debtors’ claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of
      Reorganized Debtor Chesapeake Energy Corporation’s principal place of business and the Reorganized Debtors’
      service address in these chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.

2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Order
      Confirming Fifth Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy Corporation and Its
      Debtor Affiliates [Case No. 20-33233, Docket No. 2915, Ex. A] (the “Plan”).
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       WHEREAS, on June 28, 2020 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on October 30, 2020, the Settlement Claimants filed the following proofs of

claim (together, the “Proofs of Claim”) and, on or around June 8, 2021, or June 9, 2021, filed the

following requests for allowance and payment of administrative claims (together with the Proofs

of Claim, the “Claims”):

      Claim No.                Claimant        Filed Claim Amounts           Alleged Basis
                           Boyanowski
 Claim No. 13136                               $1,566,476.78             Royalty Payments
                           Family LP
                           Boyanowski
 Claim No. 13147                               $1,566,476.78             Royalty Payments
                           Family LP
 Administrative            Boyanowski
 Claim [Docket No.                             $74,028.44
                           Family LP                                     Royalty Payments
 3704]
                           Lyman Walters
 Claim No. 13224                               $200,000.00               Royalty Payments
                           Family LP
                           Lyman Walters
 Claim No. 13226                               $200,000.00               Royalty Payments
                           Family LP
 Administrative
                           Lyman Walters
 Claim [Docket No.                             $86,361.27                Royalty Payments
                           Family LP
 3691]
 Administrative
                           RDNJ Trowbridge
 Claim [Docket No.                             $19,998.23                Royalty Payments
                           LP
 3741]
                           Gary B. & Judy L.
 Claim No. 13230                               $80,168.85                Royalty Payments
                           Baldwin
 Administrative
                           Gary B. & Judy L.
 Claim [Docket No.                             $19,778.04                Royalty Payments
                           Baldwin
 3754]
                           Robert W. &
 Claim No. 13231                               $68,200.00                Royalty Payments
                           Wendy Dunlap
 Administrative
                           Robert W. &
 Claim [Docket No.                             $674.12                   Royalty Payments
                           Wendy Dunlap
 3753]
                           Pickering Sisters
 Claim No. 13234                               $490,812.05               Royalty Payments
                           LP



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 Administrative
                         Pickering Sisters
 Claim [Docket No.                             $47,929.57               Royalty Payments
                         LP
 3742]
                         William II & Clara
 Administrative
                         Burke; William
 Claim [Docket No.                          $13,063.83                  Royalty Payments
                         III; and Edward &
 3742]
                         Rebekah Burke
 Claim No. 13236         Russel Prevost     $72,540.00                  Royalty Payment
 Administrative
 Claim [Docket No.       Russel Prevost        $53,712.91               Royalty Payment
 3698]
                         Dwayne
 Claim No. 12338                               $541,166.05              Royalty Payment
                         Lockburner
 Administrative
                         Dwayne
 Claim [Docket                                 $19,516.23               Royalty Payment
                         Lockburner
 No.3719]

       WHEREAS, on January 16, 2021, the Court entered the Order Confirming Fifth Amended

Joint Chapter 11 Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor

Affiliates [Docket No. 2915] (the “Confirmation Order”), confirming the Plan.

       WHEREAS, the Effective Date of the Plan occurred on February 9, 2021

[Docket No. 3058]; and

       WHEREAS, the Reorganized Debtors and the Settlement Claimants have consensually

agreed, after good faith, arm’s-length negotiations, to resolve the Settlement Claimants’ Claims

on the terms set forth in this Stipulation and Agreed Order.

       WHEREAS, the Settlement Claimants have authorized their counsel, Aaron D. Hovan,

Esquire and Ira N. Richards, Esquire (“Settlement Claimants’ Counsel”), to receive and disburse

to them payments or distributions on account of the Claims (collectively, the “Claim Proceeds”)

pursuant to the terms of their engagement, including the amendment to the Settlement Claimants’

retention agreements, a true and correct copy of which is attached hereto as Exhibit A

(collectively, the “Retention Agreements”); provided that the Settlement Claimants’ Counsel shall

be the sole person responsible for distribution of the Claim Proceeds to the Settlement Claimants


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pursuant to the Retention Agreements, this Stipulation and Agreed Order, and each Settlement

Claimant’s respective interests, and the Reorganized Debtors shall have no liability related thereto.

       NOW, THEREFORE, IT IS STIPULATED AND AGREED as follows:

       1.      A single allowed claim in the aggregate amount of $2,312,000.00 consisting of two

components: 1) an allowed Class 7 general unsecured clam totaling $2,180,000 and 2) an allowed

administrative claim totaling $132,000.00 which shall be distributed to the Settlement Claimants’

Counsel in satisfaction of the following Claims:

                Claim No.               Claimant             Filed Claim Amounts
                                                          Unsecured: $1,500,225.43
                                    Boyanowski            Admin: $66,251.35
            Claim No. 13136         Family LP
                                                          Total: $1,566,476.78
                                                          Unsecured: $1,500,225.43
                                    Boyanowski            Admin: $66,251.35
            Claim No. 13147         Family LP
                                                          Total: $1,566,476.78
            Administrative          Boyanowski
            Claim [Docket No.                             $74,028.44
                                    Family LP
            3704]
                                                          Admin: $200,000.00
                                    Lyman Walters
            Claim No. 13224
                                    Family LP
                                                          Total: $200,000.00
                                                          Admin: $200,000.00
                                    Lyman Walters
            Claim No. 13226
                                    Family LP
                                                          Total: $200,000.00
            Administrative
                                    Lyman Walters
            Claim [Docket No.                             $86,361.27
                                    Family LP
            3691]
            Administrative
                                    RDNJ Trowbridge
            Claim [Docket No.                             $19,998.23
                                    LP
            3741]
                                                          Unsecured: $70,540.29
                                    Gary B. & Judy L.     Admin: $9,628.56
            Claim No. 13230
                                    Baldwin
                                                          Total: $80,168.85


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            Administrative
                                   Gary B. & Judy L.
            Claim [Docket No.                            $19,778.04
                                   Baldwin
            3754]
                                                         Unsecured: $68,000.00
                                   Robert W. &           Admin: $200.00
            Claim No. 13231
                                   Wendy Dunlap
                                                         Total: $68,200.00
            Administrative
                                   Robert W. &
            Claim [Docket No.                            $674.12
                                   Wendy Dunlap
            3753]
                                                         Unsecured: $458,757.80
                                   Pickering Sisters     Admin: $32,054.25
            Claim No. 13234
                                   LP
                                                         Total: $490,812.05
            Administrative
                                   Pickering Sisters
            Claim [Docket No.                            $47,929.57
                                   LP
            3742]
                                   William II & Clara
            Administrative
                                   Burke; William
            Claim [Docket No.                         $13,063.83
                                   III; and Edward &
            3742]
                                   Rebekah Burke
                                                      Unsecured: $63,884.00
                                                      Admin: $8,656.00
            Claim No. 13236        Russel Prevost
                                                         Total: $72,540.00
            Administrative
            Claim [Docket No.      Russel Prevost        $53,712.91
            3698]
                                                         Unsecured: $532,319.49
                                   Dwayne                Admin: $8,846.56
            Claim No. 12338
                                   Lockburner
                                                         Total: $541,166.05
            Administrative
                                   Dwayne
            Claim [Docket No.                            $19,516.23
                                   Lockburner
            3719]

       2.      Any and all other relief, if any, sought pursuant to the Claims shall be disallowed.

       3.      The relief granted in this Stipulation and Agreed Order (a) shall be in full and final

satisfaction, settlement, release and discharge of the claims asserted in the Claims, including any

claims related to the distribution of the Claim Proceeds by the Settlement Claimants’ Counsel to

the Settlement Claimants pursuant to the Retention Agreements and/or understandings with the



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Settlement Claimants’ Counsel, and (b) shall not be an admission as to the validity or amount of

the claims asserted in the Claims and/or any other claims.

       4.      This Stipulation and Agreed Order fully and finally resolves the Claims, including

any and all other claims, demands, actions, causes of action, liabilities, damages, debts, costs and

expenses, covenants, obligations, contracts, controversies, promises, amounts owed, losses, fees,

and deficiencies of every kind and character whatsoever, whether known or unknown, matured or

unmatured, accrued or unaccrued, asserted or unasserted, at law or in equity with respect to the

Claims that the Settlement Claimants did or could have asserted against the Debtors or the

Reorganized Debtors (the “Settled Matters”). For the avoidance of doubt, the Settled Matters also

expressly include any claim or potential claim by the Settlement Claimants against the Debtors or

Reorganized Debtors related to final distribution of the proceeds identified in this Stipulation and

Agreed Order from the Settlement Claimants’ Counsel to the Settlement Claimants pursuant to the

Retention Agreements and/or understandings with the Settlement Claimants’ Counsel.

       5.      The Parties hereby agree that each party shall bear its own costs and attorneys’ fees

and other expenses incurred related to the Claims and this Stipulation and Agreed Order

       6.      The Settlement Claimants must complete and return a Form W-9 and equity

registration form, as applicable, to the Reorganized Debtors prior to receiving a distribution, if

any.

       7.      Upon entry of this Stipulation and Agreed Order, Epiq Corporate Restructuring,

LLC is hereby authorized and directed to update the Claims on the Official Claims Register to

reflect the terms of this Stipulation and Agreed Order.

       8.      Nothing in this Stipulation and Agreed Order shall be interpreted to impair in any

way the rights, claims or defenses reserved under the Plan or Confirmation Order with regard to




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or on behalf of the Debtors, the Reorganized Debtors, and the Settlement Claimants, except to the

extent inconsistent with the terms of the Stipulation and Agreed Order.

        9.     Neither this Stipulation and Agreed Order nor any negotiations and writings in

connection with this Stipulation and Agreed Order are intended to, or shall be construed to (a) be

evidence of or an admission on behalf of either Party regarding any claim, right or defense that

such Party may have against the other Party; or (b) waive or otherwise modify any releases,

exculpation, injunction, and discharge provided in the Plan or by operation of the Bankruptcy

Code, except as explicitly provided herein.

        10.    This Stipulation and Agreed Order is immediately effective and enforceable upon

its entry.

        11.    This Stipulation and Agreed Order is intended by the Parties to be binding upon

their successors, agents, assigns, and any parent, subsidiary, or affiliated entity of the Parties.

        12.    The undersigned hereby represent and warrant they have full authority to execute

this Stipulation and Agreed Order on behalf of the respective Parties and that the respective Parties

have full knowledge of, and have consented to, this Stipulation and Agreed Order. The Settlement

Claimants represent that they have not sold, pledged, conveyed, assigned, or otherwise transferred

any part of the Claims.

        13.    This Stipulation and Agreed Order shall not be modified, altered, amended, or

supplemented except by a writing executed by the Parties.




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       14.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the interpretation, implementation or enforcement of this Stipulation.


IT IS SO ORDERED.

Signed: ________________, 2025
Houston, Texas
          August19,
         January 02,2025
                     2019                        CHRISTOPHER M. LOPEZ
                                                 UNITED STATES BANKRUPTCY JUDGE




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STIPULATED AND AGREED TO THIS 16th DAY OF JANUARY, 2025:



SIGNATURE BLOCK FOR COUNSEL

/s/ Ira Neil Richards                              /s/ Aaron D. Hovan
Ira Neil Richards                                  Aaron D. Hovan
Dilworth Paxson LLP                                154 Warren St.
1500 Market St., Suite 3500E                       Tunkhannock, PA, 18657
Philadelphia, PA 19102                             aaron@hovanlaw.com
irichards@dilworthlaw.com

Co-Counsel to the Settlement Claimants             Co-Counsel to the Settlement Claimants

 /s/ J Machir Stull
 JACKSON WALKER L.L.P.                            KIRKLAND & ELLIS LLP
 Matthew D. Cavenaugh (TX Bar No. 24062656)       KIRKLAND & ELLIS INTERNATIONAL LLP
 Jennifer F. Wertz (TX Bar No. 24072822)          Patrick J. Nash, Jr., P.C. (admitted pro hac vice )
 Kristhy M. Peguero (TX Bar No. 24102776)         Alexandra Schwarzman (admitted pro hac vice)
 J. Machir Stull (TX Bar No. 24070697)            333 W Wolf Point Plaza
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                                                                alexandra.russell@kirkland.com

                                                  Co-Counsel to the Reorganized Debtors




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                             Exhibit A

                 Amendment to Retention Agreements




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